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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 THE NEW YORK TIMES COMPANY,

                                  Plaintiff,
                                                                Case No. 1:23-cv-11195-SHS-OTW
                  v.

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,
                        Defendants.


         OPENAI DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY
                    IN SUPPORT OF MOTION TO COMPEL

        Defendants Open AI, Inc., OpenAI L.P., OpenAI GP, L.L.C., OpenAI, L.L.C., OpenAI OpCo,

L.L.C., OpenAI Global, L.L.C., OAI Corporation, L.L.C., and OpenAI Holdings, L.L.C. (collectively,

“OpenAI”), by and through counsel, respectfully submit this Notice of Supplemental Authority to apprise

the Court of a recent order that further supports Defendants’ pending Letter Motion to Compel (Dkt. 124).

        On June 24, 2024, in Tremblay v. OpenAI, Inc., No. 23-cv-03223 (N.D. Cal.), the United States

District Court for the Northern District of California granted OpenAI’s nearly identical request to compel

production. See Order Re: Fourth Discovery Dispute, Tremblay, No. 23-cv-03223, Dkt. 154 (attached

hereto as Exhibit 1); see also Joint Letter Brief, Tremblay, No. 23-cv-03223, Dkt. 153. Specifically, the

court granted “the request to compel the OpenAI account information for the individuals who used

ChatGPT to investigate Plaintiffs’ claims, and the prompts and outputs for Plaintiffs’ testing of ChatGPT

in connection with their pre-suit ChatGPT testing, including prompts and outputs that did not reproduce or

summarize Plaintiffs’ works or otherwise support Plaintiffs’ claims, along with documentation of Plaintiffs’

testing process.” Ex. 1 at 7.




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Dated: June 25, 2024              Respectfully Submitted,

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*
 All parties whose electronic signatures are included herein have consented to the filing of this
document, as contemplated by Rule 8.5(b) of the Court’s ECF Rules and Instructions.
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